Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 1 of 19




                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                Case Number:__________________-CIV-_____________________
  RAYMOND T. MAHLBERG,

         Plaintiff,
  v.

  PATCHWORK PALM BEACH, LLC.
  d/b/a CREMIEUX,

         Defendant.
  ________________________________/

                       COMPLAINT FOR PERMANENT INJUCTIVE RELIEF

                COMES NOW, Plaintiff Raymond T. Mahlberg (“Plaintiff “or “Mahlberg”), by

  and through undersigned counsel, files this Complaint for Permanent Injunctive Relief pursuant to

  Title III of the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§s 12181-12189

  (“ADA”), 28 U.S.C. §2201 and 2202 as well as 28 CFR Part 36 Regulations. Plaintiff state as

  follows:

                         INTRODUCTION AND NATURE OF THE ACTION

                1. This Court has jurisdiction over this case based on federal question Jurisdiction,

  as provided in 28 U.S.C. §1331 and the provisions of the ADA. Plaintiff seeks declaratory and

  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

                2. Plaintiff is a visually-impaired and legally blind person (disabled) who requires

  assistance through screen-reading software to read website content using his computer. Plaintiff

  uses the term “blind” or “visually impaired” as legally blind. Disable as defined by ADA and

  Amendment acts of 2008, 42 USC §12101 (ADAAA).




                                                  1
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 2 of 19




                  3. Defendant’s website https://us.cremieux.fr specifically the Florida website (the

  “Website” or “E-commerce application”) is not fully or equally accessible to blind or visually

  impaired consumers in violation of the “ADA.” As a result, Plaintiff seeks a permanent injunction

  to cause a change in PATCHWORK PALM BEACH, LLC. (“Defendant” or “Cremieux”)

  policies, practices and procedures so that Defendant’s website will become, and remain,

  accessible to blind. Plaintiff seeks injunctive relief, attorneys’ fees and costs, including, but not

  limited to, court costs and expert fees, pursuant to Title III of the Americans with Disabilities Act

  of 1990, as amended, 42 U.S.C. §§s 12181-12189 (“ADA”) and 42 U.S.C. 2000a-3(a). See also

  28 U.S.C. 2201 and 2202 as well as ADA 28 CFR Part 36 Regulations.

                  4. Plaintiff is unaware of the true names, identities, and capacities of all responsible

  parties (defendants) being sued. Plaintiff will seek leave to amend this complaint to allege the

  true names and capacities if and when ascertained. Plaintiff is informed and believes, and

  thereupon alleges, that Defendant is legally responsible in some manner for the events and

  happenings alleged herein and that Defendant sued here proximately caused injuries and damages

  to Plaintiff as set forth below.

                  5. Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA

  Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”). Defendant’s failure to design, build,

  maintain, and operate its https://us.cremeux.com to be fully and equally accessible to and

  independently operational by Plaintiff, constitutes in Defendant’s denial of full and equal access

  to physical stores and Website, resulting in a violation of Plaintiff’s rights under the Americans

  with Disabilities Act (“ADA”).




                                                     2
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 3 of 19




                   6. Defendant’s website is a point of sale for the Defendant physical store. The

  Defendant’s e-commerce platform (https://us.cremeux.com the “Website”) allows purchase of the

  same merchandise online or at the brick-mortar store.

                   7. The Defendant owns and operates the Website for desktop and mobile

  application for e-commerce and several clothing stores that are located in Florida.

                   8. Because Defendant is a store open to the public, each of Defendant’s physical

  stores is a place of public accommodation subject to the requirements of Title III of the ADA, 42

  U.S.C. §12182, §12181(7)(E), and its implementing regulations, 28 C.F.R. Part 36.

                   9. Plaintiff Raymond T. Mahlberg, a blind veteran of the U.S. military, residing in

  Orlando, Florida brings this action under the Americans with Disabilities Act in Federal Court.

                   10. Blind and visually impaired citizens must use screen reading software 1 or other

  assistive technologies in order to access website content.

                   11. Plaintiff cannot use his computer and mobile device browser without the

  assistance of appropriate and available screen reader software to understand websites.

                   12. Defendant’s Website is built in digital code that impedes screen-reader

  software to work. A few lines of code could make the Defendant’s website compatible with the

  popular blind’s screen-readers software and grant access to Defendant’s store to all blind

  individuals, including Plaintiff.

                   13.Screen reader software translates the visual internet into an auditory equivalent.

  which vocalizes visual information found on the computer screen. With this software, Plaintiff

  has successfully used more than 400 websites.


  1
    “screen reader” is a software application that enables people with severe visual impairments to use a computer.
  Screen readers work closely with the computer's Operating System (OS) to verbalize information about icons, menus,
  dialogue boxes, files and folders.


                                                          3
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 4 of 19




                 14. The software reads the content of a webpage to the user. The screen reading

  software uses auditory cues to allow a visually impaired user to effectively navigate the websites.

                  15. One of the functions of the Defendant’s Website is to provide the public

  information on the locations of Defendant’s stores through a “store locator” feature. Defendant

  also sells to the public its merchandise through the Website, which acts as a point of sale for

  Defendant’s merchandise available in, from, and through Defendant’s physical stores.

                         16. This case arises out of the fact that Defendant Patchwork PALM

  BEACH, LLC (Cremieux) has operated its business in a manner and way that effectively

  excluding Plaintiff who are visually impaired from access to Defendant physical stores and

  online store (the Website). Because the Website, an e-commerce online platform, carries the

  same products in the physical store and connects individuals to make a purchase on the Website

  24/7, the same way they would in the physical store (during limited hours 10am to 8pm). The

  Website has a nexus to, and is an extension of and gateway to the Defendant’s physical stores.

                 17. Because the public can view and purchase Defendant’s goods through the

  Website that are also offered for sale in Defendant’s physical stores, thus having the Website act

  as a point of sale for Defendant’s products that are also sold in the physical stores, arrange in-

  store and curbside pickups of merchandise purchased online benefits for use online and in the

  physical stores, the Website is an extension of and gateway to the physical stores, which are places

  of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E).

                 18. Even if the Website is not itself a place of public accommodation the

  Defendant’s physical stores are a place of public accommodation under 42 U.S.C. §12181(7)(E),

  and must comply with all requirements of the ADA. The Website is an extension and a necessary

  service, privilege, and advantage of the Defendant’s physical stores. Defendant must not



                                                   4
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 5 of 19




  discriminate against individuals with visual disabilities, and must not deny those individuals the

  same full and equal access to and enjoyment of the goods, services, privileges, and advantages

  afforded the non-visually disabled public both online and in the physical stores.

                 19. As a result of Plaintiff being legally blind, before he embarks on any venture

  from his home, Plaintiff studies the location where Plaintiff is seeking to patronize through using

  the internet. Plaintiff has made innumerous attempts to access Defendant’s physical store and

  Website in the past, but Plaintiff could not locate the nearest store thru the website neither pre-

  shop the Defendant’s merchandise because the Website is not readable by the screen-reader.

                 20. Plaintiff intends to continue to access the Defendant’s physical store and make

  a purchase thru the Website and pick up at curbside or just pre-shop. Plaintiff was informed that

  there is one of the Defendant’s physical store near Plaintiff’s home, located at 9700 Collins Ave,

  Suite 236 Miami, Florida 33154.

                 21. Plaintiff is and has been a customer who is interested in patronizing and intends

  to patronize in the near future Defendant’s physical stores once the Website’s access barriers are

  removed or remedied. The barriers Plaintiff encountered on Defendant’s website have impeded

  Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s brick-and mortar

  stores.

                 22. In the alternative, Plaintiff intends to monitor the Website in the near future,

  as a tester, to ascertain whether the Website has been updated and remedied to work properly with

  screen-readers.

                 23. Before Plaintiff visited Defendant’s physical store, Plaintiff needs to visit the

  store online, because the opportunity to shop and pre-shop Defendant’s products from Plaintiff’s




                                                   5
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 6 of 19




  home are important accommodations for Plaintiff; because as a visually disabled individual

  Plaintiff plans his outings in advance.

                 24. Plaintiff is impeded to access and communicate with Defendant effectively,

  unable to take advantage and use the Website to pre-shop and purchase Defendant’s merchandise,

  to arrange in-store and curbside pickups of merchandise purchased online, create an account and

  sign up for an electronic emailer to receive exclusive online offers, benefits, invitations, and

  discounts for use both online and in the physical stores.

                 25. The privilege to navigate the Website from Plaintiff’s home is important and

  necessary accommodations for Plaintiff because traveling outside of his home as a visually

  disabled individual is an often challenging and fearsome experience. Defendant’s failure to

  provide auxiliary aids and services for effective communications is an act of discrimination

  against Plaintiff. Title III ADA 28 C.F.R. § 36.303.

                 26. However, unless Defendant is required to eliminate the access barriers at issue

  and required to change its policies so that access barriers do not reoccur on Defendant’s Website,

  Plaintiff will continue to be denied full access to Cremieux’s physical stores and online e-

  commerce platform (the Website).

                                   JURISDICTION AND VENUE

                 27. This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA. Plaintiff seeks declaratory and injunctive relief pursuant

  to 28 U.S.C. §§2201 and 2202.

                28. Defendant have several shops in the State of Florida. Defendant conducts and

  continues to conduct a substantial and significant amount of business in this District.

                 29. Venue is proper pursuant to 28 U.S.C. §1391, in the Southern District of Florida

  where defendant resides and a substantial part of the events giving rise to the claims occurred.

                                                    6
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 7 of 19




  Personal jurisdiction exists when the Defendant purposefully availed itself of the conducting

  activities within the forum State.

                 30. Plaintiff’s claims asserted herein arose in this judicial district. Plaintiff was told

  that there is a Cremieux’s shop near his home.

                 31. Plaintiff is a resident of Orlando, FL 32817. is sui juris, and is disabled as

  defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C. §12101 (“ADAAA”).

                 32. This is an action injunctive relief pursuant to Title III of the Americans with

  Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), 28 C.F.R. § 36.201 and to prevent

  discrimination which includes equal access and effective communications with Defendant’s

  business. This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343.

                 33. Defendant is subject to personal jurisdiction in this District. Defendant has been

  and is committing the acts or omissions alleged herein in the Southern District of Florida that

  caused injury, and violated rights prescribed by the ADA to Plaintiff. A substantial part of the acts

  and omissions giving rise to Plaintiff’s claims occurred in the Southern District of Florida.

  Specifically, on several separate occasions, Plaintiff has been denied the full use and enjoyment of

  the facilities, goods, and services of Defendant’s Website in Florida. The access barriers Plaintiff

  encountered on Defendant’s Website have caused a denial of Plaintiff’s full and equal access

  multiple times in the past, and now deter Plaintiff on a regular basis from accessing Defendant’s

  Website. Defendant Cremieux is authorized to conduct, and is conducting, business within the

  State of Florida and within the jurisdiction of this court.

                                           THE PARTIES

                 34. Plaintiff Mahlberg, is a resident of the State of Florida. Plaintiff resides in

  Orlando. Mahlberg is legally blind, and a member of a protected class under the ADA. Whereby,

  he has a disability within the meaning of 42 U.S.C. § 12102(1)-(2), the regulations implementing

                                                     7
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 8 of 19




  the ADA set forth at 28 CFR §§ 36.101 et seq. and in 42 U.S.C. 3602, §802(h). Plaintiff suffered

  an assault to the back of his head in 2004 which caused damage and atrophy of the optic nerve,

  and as a consequence, is legally blind. Plaintiff is a legally blind individual who has a physical

  impairment that substantially limits the major life activity of seeing. Accordingly, Mahlberg has a

  disability within the meaning of 42 U.S.C. § 12102 and 28 C.F.R. § 35.104. Plaintiff is a qualified

  individual with a disability within the meaning of 42 U.S.C. § 12131(2), 29 U.S. Code § 794 and

  28 C.F.R. § 35.104.

                 35. Plaintiff cannot use the computer without the assistance of a screen reader

  software. Mahlberg is a proficient user of the JAWS screen-reader to access the internet." JAWS,

  or "Job Access With Speech," uses keyboards keys to navigate the website by reading loud the

  website. For screen-reading software to work, the information on a website must be capable of

  being rendered into text-description. A description of the image, icons and navigate in an organized

  order.

                 36. PATCHWORK PALM BEACH, LLC is a Florida for Profit Corporation,

  managed by the parent company PATCHWORK USA, INC. Defendant is the owner and operator

  of a chain of hundreds of fashion clothing stores under the brand name Cremieux. The Patchwork

  PALM BEACH, LLC. company produces and distributes Cremieux fashion clothing to its shops

  and distributors in Florida.

                 37. Upon information and belief, at all times material hereto, Defendant Patchwork

  PALM BEACH, LLC owns, operates, and/or manages the day-to-day affairs of Cremeux fashion

  stores which are operating within the State of Florida. Defendant’s store are public

  accommodations pursuant to 42 U.S.C. § 12181(7)(E).




                                                   8
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 9 of 19




                 38. Plaintiff believes, and thereon alleges, that defendant Cremieux corporate and

  affiliates and/or related entities, actively engaged in the sale of apparel in various states throughout

  the country, including Florida.

                 39. Said Defendant entities will hereinafter collectively be referred to as

  “Cremieux” or, where appropriate, “Defendant.”

                                                 FACTS

                 40. Defendant is defined as a “Place of Public Accommodation" within meaning of

  Title III because Defendant is a private entity which owns and/or operates “[A] bakery, grocery

  store, clothing store, hardware store, shopping center, or other sales establishment,” 42 U.S.C.

  §12181(7)(E) and 28 C.F.R. §36.104(5).

                 41. Each of Defendant Cremieux stores are open to the public and each is a Place

  of Public Accommodation subject to the requirements of Title III of the ADA and its implementing

  regulation as “[A] … other sales establishment,” as defined by 42 U.S.C. §12181(7)(E); §12182,

  and 28 C.F.R. Part 36.

                 42. Cremieux offers fashion clothing and accessories for sale to the general public.

                 43. Defendant has control over several points of sale including the Website, its

  content, design and source-code, and/or operates his web pages, including image and data content.

  Defendant owns and operate the domain name https://us.cremeux.com that is configured for use

  by desktop computer and mobile devices such as smartphones.

                 44. One of the functions of Defendant’s Website (available to browse in mobile or

  computer version) is to provide the public information on the various locations of Defendant’s

  stores that sell fashion clothing and accessories. The other function of the website is to sell

  Defendant’s products.



                                                     9
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 10 of 19




                   45. Defendant’s Website is offered by Defendant as a way for the public to

   communicate with Cremieux’s fashion products. Defendant’s Website also permits the public to

   register and create an account allows the general public to order and purchase fashion clothing

   merchandise, provides: customer service and locate a shop.

                   46. Blind Plaintiff needs to plan his outgoings since at the physical store it is

   difficult to know the prices, price tags are not in Braille. Like innumerous customers, Plaintiff

   rather to accesses Defendant’s Website, since online purchase is faster or at least pre-purchase

   before Plaintiff goes to the store. Plaintiff has a concrete plan of visiting the store because Plaintiff

   admires the quality of Defendant’s products and would like to buy it in a regular basis.

                   47. Plaintiff is a customer of Cremieux stores since his intent to continue visiting a

   Cremieux clothing store near his home. Plaintiff through his inquiries learned that there are a few

   Cremieux’s shops in his area.

                   48. During the month of February 2021, on several occasions, Plaintiff was denied

   access to Defendant’s website, because the Website was incompatible to screen-reader software.

   Plaintiff explains that the Website contains the following access barriers that prevents him from

   free and full use of screen reader software. Plaintiff encountered these barriers that are persistent

   and include, but are not limited to:

   a. Store location page, the screen reader cannot read the address, it jumps from city name to

   email, skipping the store address and phone number.

   b. Images have no Id label or same id label (product pictures thumbnail). The visual label must

   appear in the accessible name of links and controls. Using the same alt text on adjacent images

   results in screen readers stuttering as the same text is read out twice.

   c. Products’ pictures are mislabeled, it announces a product link http…,



                                                      10
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 11 of 19




   d. Once an item is selected, the item title is announced, the price and colors are skipped and goes

   straight to size. Price is not labeled to integrate with the screen reader.

   e. Removing the underline from links makes it hard for color-blind users to find them.

   f. The Locations page shows several images without description, each image refers to a store

   location, but is inaccessible.

                   49. Due to these barrier Plaintiff was unable and impeded to access: Plaintiff was

   unable to learn (1) Defendant’s store locations open in his area; (2) the cost of Defendant’s

   products; (3) buy a linen blazer and pants in the Website and pick up at curbside or at the nearest

   Cremieux’s stores; (4) get the exclusive online deals; (5) register online (create an account); and

   (6)product pricing and finalizing an online purchase. Thus, Defendant’s Website creates an

   intangible barrier that prevents Mahlberg from “’accessing a privilege’ of a physical place of public

   accommodation, where Plaintiff cannot locate the defendant’s store, pre-purchase or make a

   purchase to pickup at the store.

                   50. Plaintiff attempted to locate an “accessibility” notice, statement, or policy on

   the Website that would direct him to a webpage with contact information for disabled individuals

   who have questions or concerns about, or who are having difficulties communicating with, the

   Website. However, Plaintiff was unable to do so because no such link or notice, statement, or

   policy existed on the Website.

                   51. During Plaintiff’s several visits to the website using JAWS most popular screen-

   reader for computer and smartphone browsing, occurring in February 12, 2022 and the last in

   March 13, 2022, attempted to visit the physical store by checking the Website first, however the

   plaintiff encountered multiple access barriers that denied the plaintiff full and equal access to the




                                                      11
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 12 of 19




   facilities, goods and services offered to the public and made available to the public; and that denied

   the plaintiff the full enjoyment of the Defendant’s facilities, goods, and services.

                              AMERICAN WITH DISABILITIES ACT

                   52. The failure to access the information needed precluded Plaintiff’s ability to

   patronize Cremieux’ stores because, as a blind individual, Plaintiff needs to plan his outings out in

   detail in order to have the proper financing for a venture, and ensure that Plaintiff arrives at a given

   location.

                   53. Under Title III of the ADA, 42 U.S.C. §§ 12181–12189 (“Title III”), which

   addresses “Public Accommodations and Services Operated by Private Entities.” Title III provides

   that “[n]o individual shall be discriminated against on the basis of disability in any place of public

   accommodation.” 42 U.S.C. § 12182(a).

                   54. Title III provides that “no individual shall be discriminated against on the basis

   of disability” in “any Place of Public Accommodation.” 42 U.S.C. § 12182(a). As defined in Title

   III, the term “public accommodation” includes a “store and sales establishment” Id. § 12181(7)(E).

   Defendant Cremieux owns and operates stores, Cremieux.

                   55. Binding Court acknowledged that Title III’s public accommodation protection

   “covers both tangible and intangible barriers, such as screening rules or discriminatory procedures

   that restrict a disabled person’s ability to enjoy the defendant entity’s services and privileges.

                   56. Technology evolves, in these days, for consumers and business. Consumers are

   doing most of their shopping online. And business are seeing higher revenue from their onlime

   point of sales then their physical stores, based on business financial disclosures. Defendant’s

   provision of an e-commerce Website, which is the main point of sale, distribution, and revenue for




                                                     12
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 13 of 19




   Defendant’s business. The Website is an intangible, but essential part of the Defendant’s services

   and privileges offered by the Defendant’s stores to their customers to access Defendant’s goods.

                  57. Title III ADA Part 36 regulation was amended to integrate section 36.303

   Auxiliary Aids and Services “A public accommodation shall furnish appropriate auxiliary aids and

   services where necessary to ensure effective communication with individuals with disabilities.”

                  58. The access barriers Plaintiff encountered on Defendant’s website have caused

   a denial of Plaintiff’s full and equal access multiple times in the past, and now deter Plaintiff on a

   regular basis from accessing Defendant’s Website.

                  59. Plaintiff would like to become Defendant’s patron and access the Defendant’s

   physical store and the Website in the near future but the barriers Plaintiff encountered on

   Defendant’s Website has impeded Plaintiff’s full and equal enjoyment of goods and services

   offered at Defendant’s brick-and mortar stores.

                  60. The fact that Plaintiff could not access the Defendant’s Website and could not

   comprehend the electronic pages contained therein, left Plaintiff excluded from accessing

   Cremieux’s stores, goods and services available from Defendant and further left him with the

   feeling of segregation, rejection, isolation, and unable to participate in a manner equal to that

   afforded to others who are not similarly disabled. As a result, Plaintiff has suffered particularized

   harm and an injury in fact.

                  61. Plaintiff cannot make proper arrangements for transportation of himself to the

   Cremieux’s store locations without the ability to know in advance the Cremieux’s goods and

   services which service is available online through Defendant’s Website. Plaintiff also faces a great

   degree of uncertainty of how to physically travel to Defendant Cremieux’s store location. Plaintiff

   is effectively denied the ability to physically travel to Defendant Cremieux’s store.



                                                     13
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 14 of 19




                  62. Plaintiff has a concrete plan to purchase Cremieux’s clothing and accessories

   when he is treated like other members of the public. By denying Plaintiff the opportunity to

   comprehend Cremieux’s Website therein due to Plaintiff’s disability (visual impairment),

   Defendant has denied Plaintiff the opportunity to participate in or benefit from Defendant’s goods

   and services as afforded to the public.

                  63. Plaintiff will suffer continuous and ongoing harm from Defendant’s omissions,

   policies, and practices set forth herein unless enjoined by this Court.

                  64. On information and belief, Defendant has not offered any form of Website in

   an accessible format for blind or visually impaired individuals.

                  65. Thus, Defendant has not provided full and equal enjoyment of the services,

   facilities, privileges, advantages, and accommodations provided at its stores and authorized

   retailers.

                  66.    All Public Accommodations must ensure that their Places of Public

   Accommodation provide Effective Communication for all members of the general public, including

   individuals with disabilities pursuant Title III ADA 28 C.F.R. § 36.303.

                  67. Binding case law increasingly recognize that private entities are providing

   goods and services to the public through their online point of sale which operates as “Places of

   Public Accommodation” under Title III.

                  68. A person who cannot see, like the Plaintiff in this case, cannot go to Defendant’s

   website and avail themselves of the same privileges. Thus, the Plaintiff has suffered discrimination

   due to Defendant’s failure to provide a reasonable accommodation for Plaintiff’s disability.




                                                    14
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 15 of 19




                  69. Plaintiff has no plain, adequate, or complete remedy at law to redress the

   wrongs alleged hereinabove and this suit for injunctive relief is his only means to secure adequate

   redress from Defendant’s unlawful and discriminatory practices.

                  70. Notice to Defendant is not required as a result of Defendant’s failure to cure the

   violations. Enforcement of the rights of Plaintiff is right and just pursuant to 28 U.S.C. §§ 2201,

   2202.

                  71. Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28

   U.S.C. §§ 2201 and 2202 and Title III ADA Subpart E Section 36.501.

                  72. Plaintiff has retained the law office of Acacia Barros, Esq. and has agreed to

   pay a reasonable fee for services in the prosecution of this cause, including costs and expenses

   incurred. Plaintiff is entitled to have reasonable attorneys’ fees, costs and expenses paid by

   Defendant Cremieux.

      COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

                  73. Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

   subtitle of Title III of the ADA, which prohibits discrimination on the basis of disability by Public

   Accommodations and requires Places of Public Accommodation to be designed, constructed, and

   altered in compliance with the accessibility standards established by Part 36 Regulation.

                  74. Defendant’s Website has not been designed to interface with the widely and

   readily available technologies for blinds that can be used to ensure effective communication.

                  75. As delineated above and pursuant to 42 U.S.C. §12181(7)(E), Defendant is a

   Public   Accommodation       under    the   ADA       because   it   owns   and/or    operates   the

   https://us.cremeux.com website which is defined within §12181(7)(E), and is subject to the ADA.




                                                    15
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 16 of 19




                  76. No notice is required because under Title III of the ADA, 42 U.S.C. §

   12182(b)(1)(A)(II), it is unlawful discrimination to deny individuals with disabilities or a class of

   individuals with disabilities an opportunity to participate in or benefit from the goods, services,

   facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

   to other individuals.

                  77. Unlawful discrimination includes “a failure to make reasonable modifications

   in policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §

   12182(b)(2)(A)(II).

                  78. Unlawful discrimination also includes “a failure to take such steps as may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services, unless the entity can demonstrate that taking such steps would fundamentally alter the

   nature of the good, service, facility, privilege, advantage, or accommodation being offered or

   would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(III).

                  79. Defendant is in violation of the ADA by creating barriers for individuals with

   disabilities who are visually impaired and who require the assistance of interface with screen reader

   software to comprehend and access its Website. These violations are ongoing.

                  80. As a result of the inadequate development and administration of Defendant’s

   Website, Plaintiff is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and §12188, also 28

   C.F.R. §36.501 to remedy the discrimination.



                                                    16
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 17 of 19




                  81. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

   Plaintiff Mahlberg injunctive relief; including an order to:

                  a) Require Defendant take the necessary steps to make the Website readily

   accessible to and usable by visually impaired users, and during that time period prior to the

   https://us.cremeux.com website being readily accessible, to provide a temporary alternative

   method for individuals with visual impairments to access the information available on the Website

   until such time that the requisite modifications are made. Title III American with Disabilities Act

   Part 36 Regulation.

                  b) Require Defendant to provide periodic maintenance of the accessible website

   thru the appropriate auxiliary aids such that individuals with visual impairments will be able to

   always receive communication effectively with the Website for purposes of viewing and locating

   Cremieux’s stores and becoming informed of and signing up for Cremieux’s clothing products

   online, and of viewing electronic documents provided to the public within Defendant’s Website.

                  c) During the time period prior to the Website’s being designed to permit

   individuals with visual impairments to effectively communicate, requiring Defendant to provide

   an alternative method for individuals with visual impairments to effectively communicate so they

   are not impeded from obtaining the goods and services made available to the public. Title III ADA

   Part 36 Regulation.

                  82. For all of the foregoing, the Plaintiff has no adequate remedy at law.

                                       DEMAND FOR RELIEF

                  WHEREFORE, Plaintiff RAYMOND T. MAHLBERG hereby demands

   judgment against Defendant “Patchwork PALM BEACH, LLC (Cremieux)” and requests the

   following injunctive relief permanently enjoin Defendant from any practice, policy and/or



                                                    17
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 18 of 19




   procedure which will deny Plaintiff equal access to, and benefit from Defendant’s services and

   goods, as well as the Court:

                  a. That the Court issue a Declaratory Judgment that determines that the Defendant’s

   websites at the commencement of the subject lawsuit is in violation of Title III of the Americans

   with Disabilities Act, 42 U.S.C. § 12181 et seq.;

                  b. That the Court enter an Order directing Defendant to continually update and

   maintain their computer version of the defendant’s websites to ensure that it remains fully

   accessible to and usable by visually impaired individuals;

                  c. That the Court issue an Injunctive relief order directing Defendant to alter their

   website to make it accessible to, and useable by, individuals with disabilities to the full extent

   required by Title III of the ADA;

                  d. That the Court enter an Order directing Defendant to evaluate and neutralize their

   policies and procedures towards persons with disabilities for such reasonable time so as to allow

   Defendant to undertake and complete corrective procedures;

                  e. Further requests the Court to retain jurisdiction for a period to be determined to

   ensure that Defendant has adopted and is following an institutional policy that will in fact cause

   Defendant to remain fully in compliance with the law;

                  f. That the Court enter an award of attorney’s fees, costs and litigation expenses

   pursuant to 42 U.S.C. § 12205; and Title III of the ADA Section 36.505.




                                                   18
Case 1:22-cv-20862-KMM Document 1 Entered on FLSD Docket 03/22/2022 Page 19 of 19




                                                Respectfully submitted,

   Dated this 22nd day of March 2022.


                                                 /s/Acacia Barros
                                                 Attorney for Plaintiff
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                                       CERTIFICATE OF SERVICE

                I hereby certify that on this 22nd day of March, 2022 that the foregoing document has

   been filed     using CM/ECF           system and     will   be      served via     email    when

   Defendant/Defendant’s counsel enters an appearance.




                                                   19
